    Case: 4:24-cv-00703-NCC                Doc. #: 1-2       Filed: 05/20/24         Page: 1 of 1 PageID #: 18

                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MISSOURI

                                                         )
                                                         )
                                                         )
                          Plaintiff,                     )
                                                         )
         V.                                              )   Case No.
                                                         )
                                                         )
                                                         )
                          Defendant,                     )
                                                         )

                                           ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
WHEN INITIATING A NEW CASE.



□       THIS SAME CAUSE, OR A SUBSTANTIALLY EQU IV ALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER _ _ _ _ _ __

AND ASSIGNED TO THE HONORABLE JUDGE _ _ _ _ _ _ _ _ _ __


□       THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

PREVIOUSLY FILED COM PLAINT. THE RELATED CASE NUMBER IS _ _ _ _ _ _ _ _ AND

THAT CAS E WAS ASSIGNED TO THE HONORABLE _ _ _ _ _ _ _ _ _ . THIS CASE MAY,

THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING .


~                 R THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

MAY BE OP ENED AS AN ORIGINAL PROCEEDING .



The undersigned affirms that the information provided above is true and correct.




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